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UN\TED STATES BANKRUPTCY COURT
EASTERN DlSTR|CT OF CAL|FORN|A

 

 

 

 

 

 

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF CALIFORNIA

FRESNO DIVISION
In re Case No. 04-1 1065-B-l l
Waterman Industries, Inc., DC No. WLG-l45
DC No. MTH-l

Debtor.

 

MEMORANDUM DECISION RE OBJECTION TO ADMINISTRATIVE CLAIM
OF CELTIC LEASING AND COUNTER-MOTION FOR PAYMENT OF
ADMINISTRATIVE CLAIM

Riley C. Walter, Esq., of Walter Law Grou , appeared on behalf of the debtor in
possession, Waterman Industries, Inc. (the ‘De tor”).

Michael T. Hertz, Es_q., of Lang, Ritchert & Patch, appeared on behalf of respondent to
counter-movant Celtic Leasing Corp., (“Celtic”).

Donald W. Fitzger_ald, Esq., of Felderstein Fit_zgerald W_illoughb & Pascuzzi, LLP,
a eared teleghonically on behalf of the Officral Comrnlttee of nsecured Creditors (the
“ ommittee’ .

Randy Rogers, Esq., of Winston & Strawn LLP, appeared on behalf of secured creditor
Galena National lnvestments LLC, (“Galena”).

The Debtor objects to an Administrative Expense Proof of Claim filed by Celtic
(the “Celtic Claim”). Celtic responded to the objection with a counter-motion to allow
and pay the Celtic Claim as an administrative expense. The parties dispute both the
administrative priority and the amount of the Celtic Claim. After oral argument, the court
took the matter under submission to decide the administrative priority issue, i.e., whether
the contracts between Celtic and the Debtor constitute a true lease of personal property, or
a non-lease financing agreement disguised as a lease. The outcome of that issue will
determine whether Celtic is entitled to have its claim paid, in whole or in part, as an
administrative expense pursuant to sections 365(d)(10) and 503(b) of the Bankruptcy

Code.l Celtic also asserts a claim for alleged conversion of the leased equipment For

 

lUnless otherwise indicated or made clear from the context, all cha ter, section

and rule references are to the Bankruptcy Code, ll U.S.C. § 101-1330, an to the
Federal Rules of Bankruptciy Procedure, Rules 1001-9036, as enacted and promulgated
n`or to the effective date o
rotection Act of 2005, Pub. L. 109-8, Apr. 20, 2005, 119 Stat. 23.

The Bankruptcy Abuse Prevention and Consumer

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the reasons set forth below, the court finds and concludes that Celtic is entitled to an
administrative claim under § 365(d)(10) for the lease payments that came due before the
lease was rejected. Celtic is also entitled to an administrative claim for the post-rej ection
possession and use of` the leased equipment in an amount to be determined pursuant to
§ 503(b). Liquidation of the § 503(b) claim, and allowance of Celtic’s conversion claim,
if any, will require a further evidentiary hearing

This Memorandum Decision contains findings of fact and conclusions of law
required by Federal Rule of Bankruptcy Procedure 7052 and Federal Rule of Civil
Procedure 52. The bankruptcy court has jurisdiction over this matter pursuant to 28
U.S.C. § 1334 and ll U.S.C. §§ 365 and 503. This is a core proceeding pursuant to 28
U.S.C. 157(b)(1)(B).
Findings of Fact

Debtor manufactures water control equipment and has been in business since
1912. Debtor’s products are sold worldwide. They include control gates, valves, and
related equipment serving the irrigation and water control needs of the agriculture and
wastewater treatment industries. Debtor’s manufacturing and business operations are
dependant upon computers and computer software.

In 1996, Debtor and Celtic entered into an agreement entitled “Master Lease
Celtic Leasing Corp. - Lessor” (the “Master Lease”). ln November 2001 , Debtor signed
Schedules 2 and 3 (collectively, the “Schedules”), which added computer hardware and
software (the “Equipment”) to the Master Lease. Also in November 2001 , Celtic filed
two UCC-l Statements in connection with the Equipment, which stated “this filing is for
precautionary purposes in connection with a leasing transaction and is not to be construed
as indicating that the transaction is other than a true lease.” On December 7, 2001 , and
February 6, 2002, the Debtor entered into agreements to assign lease payments related to
Schedules 2 and 3 respectively, to Wells Fargo Equipment Finance, lnc., f`or the Base
Term of the Schedules. Those agreements were both entitled “Assignment of Lease” (the
“Wells Fargo Assignments”).

 

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Debtor filed this chapter 11 case on February 10, 2004. Debtor’s Chief
Restructuring Officer, Kenneth Leddon (“Leddon”) signed the Debtor’s bankruptcy
schedules as an authorized representative Bankruptcy Schedule G states that the Debtor
was obligated to Celtic under a lease or executory contract in “Computer Equipment.”
After the Debtor filed bankruptcy, it continued to use the Equipment, On June 23, 2004,
more than 60 days after the commencement of the case, Debtor exercised its right to
extend the Master Lease and the Schedules for one year from April 1, 2005, through April
1, 2006, (the “2005 Extension”). The Master Lease, the Schedules, and the 2005
Extension are hereinafter collectively referred to as the “Lease” or the “Celtic Lease.”

The Lease was apparently extended at least twice between the expiration of the
Base Term and the 2005 Extension. ln a cover letter to the 2005 Extension, Leddon
confirmed the Debtor’s intent to extend the Master Lease and the Schedules for one more
year:

As you know, the ori 'nal term of this agreement has been extended by

amendment to April _ 2005. Therefore, the additional year tei_‘m wou d extend

the agreement to April 1, 2006 at which time the equipment will either be
purchased by Waterman or returned.

The Master Lease defines the nature and scope of the agreement:

This is a MASTER LEASE AGREEMENT herein called “Lease”). Lessor

here_by agrees to lease to Lessee, and Lessee ereby agrees to lease fr_om_ l_.essor,

the items of personal property (collectivel called ‘Equi ment” and individually
called an “Item”) described in any Lease chedule(s) (“ chedule”) now or in _the
future annexed hereto and made a part hereof, subject to the terms and conditions
set forth herein.

The Master Lease gives the Debtor the right of possession and quiet enjoyment for
the leased property:

1. (¥UIET_ENJOYMENT: So long as Lessee is not i_ii default hereunder, Lessor

shal not disturb Lessee’s quiet enjoyment of the Equipment subject to the terms

and conditions of this Lease.

The Master Lease provides for termination at the end of the “Base Terrn” as
follows:

4. TERM: This Lease with res ect to any Schedule may be terminated as of the

last day of the Base Term by eit er party giving the other party at l_east_ six months
but not more than twelve months prior written notice of such termination.

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The Master Lease further provides that Celtic shall retain title to the leased
property, including the software licenses:

7. TITLE; PERSONAL PROPERTY: _Except as otherwise provided in this Lease
or any Schedule hereto title to the Equipment shall at all times remain in Lessor.
ln the event that any of the Equipment is software governed by a software license,
Lessee shall keep said license current for the entire lease term and, to the extent
the license allows title to the software to pass to licensee, such title shall vest and
remain in Lessor. To the extent that such vesting reqluires a written conveyance
from Le_ssee, Lessee hereb(y conveys to Lessor anly_tit e it has or may hereafter
acquire in the software an foregoes an future c aim to the software including
any right to purchase and/or use the so ware be ond the lease term except as
otherwise provided in this Lease or the related chedule. If the software license
restricts any provision of this Lease without the licensor’s consent, then Lessee
shall assist Lessor, if so requested, in obtaining such consent.

The Master Lease contains a “purchase or renewal” option, which may be
exercised at the end of the Base Term:

20. FAIR MARKET VALUE PURCHASE OR RENEWAL OPTION: _ Lessee
may purchase or renew this Lease for all but not less than all of the E uipment
subject to any Schedule as of the expiration of the Base Term or any xtension
Term at its then fair market value, as mutually agreed by Lessee and Lessor . . . .
In the event Lessee and Lessor cannot agree on a fair market value, then the fair
market value shall be determined by the average appraisal of three appraisers . . . .

The Schedules both modified the “purchase or renewal” option to fix a time for
giving notice of Debtor’s election and a fair market value in the event of a purchase. The
Schedules each state:

Lessee has irrevocably elected to exercise its option to purchase or renew the
above referenced Lease with respect to the above referenced Schedule as of the
ex iration of the Base Term of said Schedule at its then fair market value

(“ MV”). At lease six months prior to the expiration of the Base Term, Lessee
shall provide Lessor with written notice of its decision to: Sa) purchase the subject
Equipment; or (b) renew the Schedule. Lessee and Lessor ereby mutually a ee
that: (I) if Lessee chooses (a), above, then the FMV purchase price shall be 3 .8%
of the total Equipment cost, which cost includes all related disbursements made
by Lessor or its Assignee; and (ii) if Lessee chooses (b), above, then the FMV
renewal of the Sche ule shall consist of a one year extension at the rental amount
in effect as of the last billing cycle of the Base Term. . . .

The 2005 Extension confirms and restates the efficacy of the Master Lease:

8.1 Except as revised or amended or modified herein, all other terms and

conditions of the Lease and all other documents attached thereto or incorporated

therein remain fully enforceable and in effect and are incorporated herein and

shall remain fully enforceable and in effect and survive any default herein by the
/ / / Customer.

 

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A recital in the 2005 Extension confirms Celtic’s title to the Equipment: “The
property that is the subject of the Lease is owned by Celtic.”2

The Debtor made the Lease payments to Celtic until April 2005, when the
payments stopped. On June 16, 2005, Debtor moved to reject the Lease with a pleading
entitled “Motion for Authority to Rej ect Unexpired Leases (Celtic Leasing Corp.)” (the
“Rejection Motion”). ln the Rej ection Motion, the Debtor repeatedly referred to the
subject agreement as a “lease.” The Rejection Motion states the “Debtor is a party to
several unexpired leases, many of which relate to leased equipment, no longer needed in
Debtor’s downsized operation.” lt ended by noting that “[t]he Debtor believes that the
subject unexpired leases should be rejected because they are costly to maintain and
continually upgrade, and are unnecessary given Debtor’s current circumstances.” The
Debtor prayed for the following relief:

court order authorizing it to reject the subject unexpired leases and, if granted, that

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lle(a:§i]sorej ected, an seeksgsuch other andpfurther relief as is just and proper.

Leddon signed a declaration in support of the Rejection Motion. He declared that
he was “familiar with the unexpired leases” and that “[t]here are three (3) equipment
lease contracts sought to be rejected by [the Rej ection Motion].” He further stated, “[i]n
my business judgrnent, I assert that these leases are not economically feasible, confer no
benefit on the estate and should be rejected.” He based this on “over 15 years experience
in the financial management of distressed companies” and status as a “Certified

lnsolvency and Restructuring Advisor (CIRA) and Certified Tumaround Professional

 

2Notably, the 2005 Extension also contained the following language regarding

the advice of its counsel:

9. ADVICE OF COUNSEL. The Customer Waterman] acknowledges that it
has reviewed this Amendment in its entirety, aving consulted such legal, tax or
other advisors a_s it deems appropriate and understands and agrees to_ each of the
provisions of this Amendment and further acknowledges that it that it has
entered into this Amendment voluntarily.

 

 

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(CTP).”

The Rej ection Motion was granted. Celtic submitted the form of order entitled
“Order Re Motion For Authority to Reject Unexpired Leases (Celtic Leasing Corp.),”
which was entered on July 8, 2005, That order specifically authorized the Debtor “to
reject the entire lease contracts [the Master Lease, Schedules, and Wells Fargo
Assignments]” and set a bar date for the filing of “[a]ny claim(s) resulting from the
rejection of the unexpired leases shall be filed within sixty (60) days of service of this
Order.”

On August 5, 2005 Celtic made a demand upon the Debtor for return of the
Equipment under the rejected Lease.3 Celtic also made a demand for the post-petition
payments due under the Lease, which were still in default Celtic timely filed the Celtic
Claim on August 17, 2005. On August 23, 2005, Debtor filed an objection to the Celtic
Claim, but withdrew it two days later.

In November 2005, Debtor filed the contested matter now before the court entitled
“Objection to Administrative Expense Proof of Claim Number 335 (Celtic Leasing
Corporation)” (the “Claim Obj ection”). Celtic filed a counter-motion for payment of the
Celtic Claim as an administrative expense of the estate.

Issue Presented

The issue of whether Celtic is entitled to an administrative claim turns on whether
the agreement between the parties constitutes a true lease or whether it amounts to a non-
lease agreement, such as a financing or security agreement, disguised as a lease, If the
agreement was a true lease, then Celtic has an administrative claim under ll U.S.C. §§

365(d)(10) and 503(b) based on the Debtor’s pre-rej ection obligation under the Lease and

 

3At the time of the oral argument in this matter, five months after entry of the
order granting the Rej ection Motion, none of the Equipment had been returned to Celtic.
There alr;pears to be a material dis ute between the parties whether the Debtor refused to
tender t e Equipment or Celtic re sed to accept it. Celtic contends that the software
has not been removed from the Debtor’s computers and is still being used. That issue
will be addressed in a subsequent lproceeding when the court determines the amount of
Celtic’s § 503(b) administrative c aim.

 

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post-rejection possession and use of the Equipment, If the agreement is a financing and
security agreement, Celtic has an unsecured claim for a deficiency after liquidation of its

collateral

Analysis and Conclusions of Law

Applicable Law

The Debtor’s obligation to perform an unexpired personal property lease under §
365(d)(10)4 gives rise to an administrative claim regardless of whether the lease is
subsequently rej ected, and regardless of whether use of the leased property benefitted the
estate. See Irz re Pacific-Atlantic Traa'ing Co., 27 F.3d 401, 403-05 (9th Cir. 1994)
(construing identical “trustee shall timely perform” language in § 365(d)(3) regarding an
unexpired lease of non-residential real property). See also In re Rebel Rents, lnc., 291
B.R. 520, 533 (Bankr. C.D. Cal. 2003) (applying the analysis in Pacific-Atlantic Traa'ing
C0. to a personal property lease under § 365(d)(10)).

Celtic has the burden of proving that it has an administrative claim based, inter
alia, on the Lease. In re DAK Ina’ustries, Inc., 66 F.3d 1091 , 1094 (9th Cir. 1995).
However, the burden is on Debtor to demonstrate by a preponderance of the evidence that
the Master Lease, the Schedules, and the 2005 Extension are not what they purport to be,
a true lease. See In re Murray, 191 B.R. 309, 316 (Bankr. E.D. Pa. 1996).

The issue of whether an agreement is a lease or a non-lease security agreement is
governed by state law. In re Rebel Reizts, 291 B.R. at 525 . Here, the Master Lease
contains the following choice of laws provision: “APPLICABLE LAW: This Lease shall

be construed in accordance with and shall be governed by the laws of the State of

 

4ll U.S.C. § 365(d)(10) sets forth the Debtor’s duties under an unexpired
personal property lease:

10) The trustee shall timely perform all 0 the_ obligations of the debtor . . . first
arising om or after 60 days after the order for re ief in a case under chapter ll of this
title under an unexpired lease of personal ro erty . . . until such lease is assumed or
re`ected notwithstandin section 503§_b)(1l)o this title, unless the court, after notice and
a eating and based on t e equities o the case, orders otherwise with respect to the
obligations or timely performance thereof . . . (emphasis added.)

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Califomia.” Therefore, the court will apply Califomia law to determine the true nature of
the agreement, Because the applicable Califomia statute, which defines the difference
between a security interest and a lease, Cal. Comm. Code § 1201(36) is based on Uniform
Commercial Code § 1-201(37), the court may also look to decisions from other
jurisdictions which interpret the U.C.C. See In re Rebel Rents, 291 B.R. at 526.
Califomia Commercial Code

Cal,. Comm. Code § 10103(a) defines a personal property lease as:

(10) “"Lease” means a transfer of the right to possession and use of goods for a
term in return for consideration, but a sale, including a_sale on approval or a sale
or return, or retention or creation of a security interest is not a lease, Unless the
context clearly indicates otherwise, the term includes a sublease.

Cal. Comm. Code § 1201 (36)(b) delineates the distinction between a lease and a
security interest, in pertinent part, as follows:

§b) Whether a transaction creates a lease or security interest is determined by the
acts of each case, However, a transaction creates a security interest if the
consideration the lessee is to pay the lessor for the right to possession and use of
the oods is an obligation for the term of the lease not subject to termination by
the essee, and any of the following conditions applies:

(i) The original term of the lease is equal to or greater than the remaining
economic ife of the goods.

(ii The lessee is bound to renew the lease for the remaining economic life
o the goods or is bound to become the owner of the goods.

(iii) The_ lessee has an option to renew the lease for the remaining _
economic life o_f the goods for no additional consideration or nominal
additional consideration upon compliance with the lease agreement,

(iv)_'l_'he lessee _has an option to become _tl_ie owner of the goods for no
additional consideration or nominal additional consideration upon
compliance witli the lease agreement,

(c) A transaction does_ not create a security interest merely because it provides one
or more of the following:

(i) That the present value of the consideration the lessee is obligated to ay
the lessor for the ri t to possession and use of the goods is substantial y
equal to or greater t ian the fair market value of the goods at the time the
lease is entered into.

ii) That the lessee assumes the risk of loss of the goods, or agrees to pay

t e_taxes, insurance, _filing, recording, or registration fees, or service or
maintenance costs with respect to the goods.

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(iii) That the lessee has an option to renew the lease or to become the
owner of the goods.

(iv) That the lessee has an option to renew the lease for a fixed rent that is
equal to or greater than the reasonably predictable fair market rent for the
B;ofglf`ntheed goods for the term of the renewal at the time the option is to be
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market value of the goods att e time the option is to be performed.

To show that Celtic’s Lease is actually a security agreement, the Debtor must
establish that it has no right to voluntarily terminate the Lease and that one of the four
provisions identified in section 1201(36)(b)(i) through (iv) applies. This inquiry has been
referred to as the “Bright-Line Test.” In re Lerclz, 147 B.R. 455 (Bankr. C.D. Ill. 1992).
The Terminability Factor

The first prong of the Bright-Line Test focuses on whether the agreement is
subject to termination by the lessee, i.e., whether the lessee is obligated to pay the entire
amount for the lease term without the right to terminate the lease early. If the
consideration the lessee must pay for the term of the lease is not subject to termination by
the lessee, then the transaction meets the first prong. In re QDS Componets, lnc., 292
B.R. 313, 332 (Bankr. S.D. Ohio 2002). Here, paragraph 4 of the Master Lease
authorizes termination by the Debtor, but only at the end of the Base Term of the Master
Lease. The Schedules establish a new Base Term for the Schedules themselves, but they
did not modify the Master Lease to authorize an early termination The 2005 Extension
extended the term of the Lease for an additional year without a right of early termination
lt appears that the Debtor’s obligation to pay Celtic was not subject to early termination
The court must therefore look at the Lease to see if any of the other factors under Cal.
Comm. Code § 1201(36)(b) apply.

Residual Value Factors

Subsections (i) through (iv) of § 1201(36)(b) are referred to as the Residual Value

Factors. Irz re QDS Componets, lnc., 292 B.R. 313, 332 (Bankr. S.D. Ohio 2002). If the

lease is not subject to early termination, and one of these Residual Value Factors is

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present, then the court’s inquiry ends and the transaction is deemed to have created a
security interest. Id. at 333.

With regard to subsection 1201(36)(b)(i), the original term of both Schedules 2
and 3 appears to be less than the remaining economic life of the Equipment Both
Schedules state an original “Base Tenn” of 24 months, which would have expired in
November 2003. At the end of the Base Term, the Equipment had remaining economic
life as evidenced by the fact that the Debtor elected to extend the Lease and continued to
use the Equipment after the Base Term expired. The Debtor failed to establish that the
Base Term of the Lease is equal to or greater than the remaining economic life of the
Equipment, Therefore, the “economic life” factor embodied in Cal. Comm. Code
§ 1201(36)(b)(i) is not present.

With regard to subsection 1201(36)(b)(ii), that factor is met when the lessee is
“bound,” meaning contractually obligated, to renew the Lease “for the remaining
economic life of the goods,” or is bound to become the owner of the goods. Stated
differently, the Lease must require the Debtor to either renew the Lease for the remaining
economic life of the Equipment, or to purchase the Equipment for the fair market value
agreed to in the Schedules, 36.8% of its original cost. The specific language in the Lease
is recited above.

The Debtor was not contractually obligated to renew the Lease for the remaining
economic life of the Equipment, or for any other term. The Debtor had an option to
purchase the Equipment or to renew the Lease for one year. There is no evidence to
suggest that a one-year extension amounts to “the remaining economic life of the goods.”
Similarly, the Debtor was not contractually obligated to become the owner of the
Equipment, again, that was an available option. Indeed, Leddon’s Cover Letter to the
2005 Extension kept open the option to surrender the Equipment all together. lt states
that at the end of` the 2005 Extension, Debtor will “buyout the equipment . . . at fair
market value, or return it to the Lessor.” Accordingly, the “bound to renew or become the

owner” factor embodied in § 1201(3 6)(b)(ii) is not present

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With regard to subsections 1201(3 6)(b)(iii) and (iv), the issue is whether the
“renew or own” options were valued at “nominal or no additional consideration.” Under
the Master Lease, the “renewal option” was based upon the then “fair market value of the
Equipment” and “subj ect to the then prevailing interest rates, Lessee’s credit standing,
and such other terms and conditions to be mutually agreed upon by Lessee and Lessor.”
Under the Schedules, the “renewal option” was tied to “the rental amount in effect as of
the last billing cycle of the Base Term.” Under the 2005 Extension, the Debtor did not
reserve the option to renew at all. Tuming now to the “purchase option,” under the
Master Lease, the “purchase option” was fixed at the Equipment’s “fair market value” at
the expiration of the lease term. The Schedules both fix the purchase price at 36.8% of
the Equipment’s total cost. Again, at no time were the “renew or own” options available
to the Debtor for “no additional consideration.”

Therefore, the remaining issue is whether the “renew or own” options were
available to the Debtor for “nominal” considei‘ation. Subsection 1201(36)(d)(i) of the
Cal. Comm. Code defines when consideration is and is not “nominal” within the meaning
of subsection 1201(36)(b):

Additional consideration is not nominal if (A) when the o tion to renew the lease

is granted to the lessee, the rent is stated to be the fair mar et rent for the use of

the tgoods for the term of the renewal determined at the time the option is to be
per ormed, or (B) when the option to become the owner of the goods is granted to

the lessee the price is stated to be the fair market value of the goods determined at

the time the option is to be performed. Additional consideration is nominal if it is

less than the lessee's reasonably predictable cost of performing under the lease

agreement if the option is not exercised.

Here, under the Master Lease, the Debtor had the option to renew the lease at the
end of the Base Term, or any extended term, for “its then fair market value” to be
determined by agreement of the parties or by independent appraisers This is in line with
what Cal. Comm. Code § 1201(36)(d)(i) defines as “not nominal” consideration Under
the Schedules, the consideration required to renew was “the rental amount in effect as of
the last billing cycle of the Base Term.” Again, this is not “nominal.” The fact that the

“renewal” rental was fixed in the Schedules as the prior rental amount suggests that the

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renewal option was for at least fair market value. The Debtor offered no evidence that the
consideration required to renew was “nominal.” Therefore, § 1201 (36)(iii) is not met.

As for the “purchase option,” under the Master Lease and the 2005 Extension, the
Debtor was required to pay “fair market value” in order to purchase the Equipment, This
is not “nominal consideration.” Under the Schedules, the consideration for the purchase
option was fixed at “36.8% of the total Equipment cost, which cost includes all related
disbursements made by Lessor or its Assignee.” Again, this “fixed” price is not nominal
under § 1201(36)(d)(i).

In 1990, the Cal. Comm. Code § 1201 was amended to conform to revisions made
by the drafters of the Uniform Comrnercial Code to § 1-201. In re QDS Components,
lnc., 292 B.R. 313, 330 (Bankr. S.D. Ohio 2002) (applying Califomia law). The 1990
amendment eliminated any reference to a percentage test for nominality. See In re
Charles, 278 B.R. 216, 224 (Bankr. D. Kan. 2002) (holding that the enactment of new
U.C.C. § 1-201(37), which disavows percentage tests, supersedes the authorities applying
the percentage tests (quoting White & Summers, U.C.C. § 30-3, 4 ed. 1995 &
Supp.2001)); In re Beckham, 275 B.R. 598, 604 (D. Kan. 2002) (concluding that Tenth
Circuit authority endorsing a bright-line rule that option prices of` less than 25% of the
original equipment cost are per se nominal “has been superceded by the amendments to
[§ 1-201(37)]”) .

Moreover, even if the percentage test had survived the enactment of U.C.C. §
1-201(3 7), courts and commentators have pointed out that such tests are not a reliable
indicator of nominality. See In re APB Online, lnc., 259 B.R. 812, 819-20 (Bankr.
S.D.N.Y. 2001) (rejecting percentage tests because they are “the crudest proxies for the
correct calculation”(quoting 4 White & Summers, U.C.C. § 30-3 at 20)).

ln this case, the court is persuaded that 36.8% of the Equipment cost is “not
nominal.” The Debtor presented no evidence on this point. Therefore, § 1201(36)(iv) is
not met. As a result, the Bright Line Test has not been satisfied. The Celtic Lease

appears from its terms to be a true lease,

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The Economic Realities of the Transaction

Finally, afier determining that the “Bright Line Test” has not been satisfied, the
court must examine the “economic realities” of the transaction. In re QDS Components,
292 B.R. at 333 (citing 111 re Triplex Marine Maintenance, lnc., 258 B.R. 659, 669
(Bankr. E.D. Tex. 2000)). The key issue in this inquiry is whether the lessor retains a
meaningful residual interest at the end of the lease term. Ia’. If there is a meaningful
reversionary interest for the lessor--either an up-side right or a down-side risk--the parties
have entered into a lease, not a security agreement If there is no reversionary interest, the
parties have entered into a security agreement In re QDS Components, 292 B,R. at 333
(quoting White & Summers, § 30-3 at 30).

Under Califomia law, in determining whether the lessor retained a meaningful
reversionary interest, the court considers two factors: (1) whether the purchase option
price is nominal; and (2) whether the agreement contains any provision for the lessee’s
acquisition of equity in the subject property. Aa'dison v. Burnett, 41 Cal. App. 4th 1288,
1296 (1996). The Ada'isoi-z court looked to the bankruptcy court’s decision in 112 re
Zaleha, 159 B.R. 581 , 585 (Bankr. D.C. Idaho 1993) for an explanation of the “economic
realties” test:

lf a lease contains an option to purchase for no or nominal consideration . . . it

suggests that the lessor does not care, in an economic sense, whether or not the

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it suggests the lessor did not expect the return of leased goods.

Here, Application of the Addison factors leads to a determination that Celtic
retained a meaningful reversionary interest in the Equipment, As elucidated above, the
purchase option price was not “nominal.” Nothing in the Master Lease, the Schedules, or
the 2005 Extension created an equity interest for the Debtor in the Equipment lndeed,
the Debtor expressly reserved the right to purchase the Equipment or surrender it at the
end of the 2005 Extension, which suggests that the Debtor had no expectation of
acquiring an equity interest, or owning the Equipment, without paying for it at fair market

value. Therefore, the Ada'ison factors are absent: Celtic did retain a meaningful residual,

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or reversionary interest in the Equipment

The Debtor argues that the Master Lease is a finance/security agreement because
the Equipment was obtained from a third-party supplier; stated differently, because Celtic
did not manufacture the Equipment This fact is not conclusive of the issue because
Celtic retained a “meaningful reversionary interest” in the Equipment See, e.g., In re
Edison Bros. Stores, lnc., 207 B.R. 801, 821 (Bankr. D.Del. 1997). (“[T]he fact that the
role of the lessor is that of` a financier is inconclusive to show that a disguised secured
transaction was intended because this kind of three party transaction is typical in true
lease[s] as well as in installment sales.”).

Galena argues that it has a security interest in the Equipment that is senior to that
of Celtic. lt points to the fact that Galena has a financing statement which was filed
earlier in time than Celtic’s financing statement However, Galena’s argument begs the
question of whether the Master Lease constituted a true lease. The filing of a financing
statement by a lessor is not determinative of true lease status. See, e.g., In re Owen, 221
B.R. 56, 62 (Bankr. N.D.N.Y. 1998). (“The fact that [the lessor] filed financing
statements . . . [does not establish a disguised security agreement]. Rather, . . . the filing
of the financing statement was the result of an abundance of caution to assure that [the
lessor's] rights were protected.”)

Debtor contends that Celtic simply financed the Debtor’s purchase of the
Equipment, Debtor argues that Celtic never owned the Equipment and was not the
licensee of the sofi:ware. However, a financing agreement can be in the form of a true
lease, the two concepts are not mutually exclusive Under Cal. Comm. Code § 10103(7),
a “finance lease” is a true lease if certain elements are met; namely, (1) the lessor does not
manufacture or supply the goods, (2) the lessor acquires the goods or the right to
possession and use of the goods in connection with the lease, and (3) the right to
possession and use of the goods is a condition to the effectiveness of the lease contract
All of these elements exist with regard to the Lease. Celtic did not manufacture or supply

the Equipment, The Debtor had the right to “quiet enjoyment” possession and use of the

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Equipment only during the term of the Lease. By the terms of the Lease, Celtic owned
the Equipment at all times, which gave it the right to possession and use of the goods
upon expiration of the Lease if the Debtor did not exercise the purchase option. Add to
this the “economic realities” analysis based on the absence of the two Ada'ison factors
above, and the Debtor’s argument fails.

The Debtor further argues that Celtic never owned the Equipment, However, the
Debtor’s argument is inconsistent with the express language in the Master Lease and the
2005 Extension, both of which the Debtor signed. The Master Lease states, “Except as
otherwise provided in this Lease or any Schedule hereto, title to the Equipment shall at all
times remain in Lessor.” The 2005 Extension states, “The property that is the subject of
the Lease is owned by Celtic.” In the 2005 Extension, the Debtor also reserved the right
to surrender the Equipment back to Celtic. Based on the plain language in these
documents, the Debtor is not in a position to argue now that Celtic was not the owner of
the Equipment, or that the Debtor ever intended to own the Equipment The Debtor
offers no evidence that it ever treated the Equipment as its own. For example, there is no
evidence as to how the Debtor treated the Equipment for tax reporting purposes, i.e., did
it deduct the Lease payments as a business expense or depreciate the Equipment
according to an approved depreciation schedule?

ln Leddon’s declaration, he states that he “believed” that Celtic never owned the
Equipment Leddon’s declaration is disingenuousand unworthy of any weight There is
no evidence that Leddon, as the Debtor’s “Chief Restructuring Officer,” was even around
in 1996 and 2001 when the Debtor signed the Master Lease and the Schedules
respectively, so he had no personal knowledge of what the Debtor intended the
documents to mean. Further, Leddon’s self-serving and opportunistic statement starkly
contradicts all of the documents which he actually signed and Eled with the court during
the course of this case. Finally, his declaration of “belief” is largely irrelevant under §
1201(36), as the Official Cornrnent to the U.C.C. states:

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Reference to the intent of the parties to create a lease or security interest has led to
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criteria, however, are as applicable to true leases as to security interests. Examples
include the typical net lease provisions, a purported lessor's lack of storage
facilities or its character as a financing party rather than a dealer in goods.
Accordingly, amended [U. C. C.] Section 1 -201 (3 7) deletes all reference to the
parties' intent (emphasis added.)
Cal. Comm. Code § 1201(36) cmt. Uniform Commercial Code
Galena and the Committee both argue that the Lease may be a “sham” transaction
Galena and the Committee disregard the fact that the Debtor bears the burden of proof on
that allegation. The Debtor certainly did not treat the Lease as a “sham” before its chapter
11 plan got confirmed and before Celtic started pushing f`or payment of an administrative
claim. The court cannot even consider this argument without admissible evidence The
Master Lease, the Schedules, and the 2005 Extension are clear and unambiguous, and all
the parties to these agreements were sophisticated This court will honor the plain
language of the contract in the absence of a reason to do otherwise See Sharon Steel
Corporation v. Clzase Manhattan Bank, N.A., 691 F.2d. 1039, 1048 (2nd Cir. 1982).
Finally, the court notes that the Debtor has repeatedly referred to the Lease as a
“lease” in all of its pleadings throughout the course of this bankruptcy case For example,
in the Rej ection Motion, the Debtor referred to and treated the Lease as a “lease.” In
addition, the Wells Fargo Assignments were replete with references to the term “lease.”
The Debtor’s sudden and opportunistic change of position now, after the chapter 11 plan
has been confirrned, and the time has come to actually pay the administrative claims, does
not pass the proverbial “smell test.”
Calculation of the Administrative Expense Claim
The full amount of Celtic’s administrative claim remains unliquidated, but some
of it can be allowed and paid immediately. There are three distinct components to
Celtic’s Claim. First, Celtic argues that it is entitled to receive the post-petition lease

payments that came due during the pre-rejection period from April 2005 through July
2005 pursuant to § 365(d)(10) (“Pre-Rejection Payments”). The court agrees with Celtic

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on the first point Celtic is entitled to receive the Pre-Rej ection Payments at the amount
stated in tlie Lease. The plain language of § 365(d)(10) required the Debtor to timely pay
the rent due until the Lease “from or after 60 days after the order for relief’ until the
Lease was rejected. The Debtor stopped making the Lease payments after expiration of
60 days and Celtic is not claiming any payments during that period. Construing virtually
identical language in § 365(d)(3), the Ninth Circuit stated in In re Pacific-Atlantic
Trading Co., 27 F.3d at 404:

By providin for timely performance of all lease obligations, “notwithstandin

section 503 )(l),” the Statute has already granted priority payment status to_t e

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treatment for the full amount which Congress has already§)estowed upon it

(emphasis original.)

Second, Celtic argues that the 2005 Extension created an independent
administrative liability for the full term of the extension and that Celtic is therefore
entitled to receive post-rej ection lease payments for the remainder of the 2005 Extension;
for the period from August 2005 through to April 2006 (“Post-Rej ection Claim”). Here,
the court disagrees in part with Celtic. The “extended” Lease was never formally
assumed pursuant to § 365(a), so the full “extended” term of the Lease did not become an
administrative liability. The 2005 Extension extended the term of the Lease, but it did
not cut off the Debtor’s right to reject the Lease during that term. Celtic is entitled to an
administrative claim under § 503 (b) measured by the “actual and necessary” value to the
estate of the Debtor’s hold-over possession and use of the Equipment, Tliis amount is
presumed to be the amount stated on the face of the Lease, but this presumption is
rebuttable upon a showing that the actual use value of the Equipment was demonstrably
less. In re Trak Auto Corp., 277 B.R. 655, 667 (Bankr. E.D. Va. 2002)). Accordingly,
the value of the Post-Rej ection Claim is a question of fact and will require discovery and
additional evidence

Third, Celtic argues that it is entitled to recover the value of the Equipment on the

theory that the Equipment was converted post-rejection (“Conversion Claim”). The court

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does not have enough evidence to determine whether a conversion of the Equipment has
actually occurred, when it occurred, or what the damages should be The Conversion
Claim, if any, may or may not be entitled to administrative priority depending, inter alia,
on if and when the alleged conversion actually occurred. See In re National Refractories
& Minerals Corp., 297 B.R. 614, 619 (Bankr. N.D. Cal. 2003) (landlord’s administrative
claim for real property damage depends on when the damage occurred). Again, that issue

will require discovery and an evidentiary hearing

Conclusion

Based on the foregoing, the Court finds and concludes that the Master Lease
Agreement and related documents constitute a true lease Accordingly, the Motion by
Celtic Leasing for Payment of Administrative Claim will be granted to the extent Celtic
seeks allowance and payment of the Pre-Rej ection Payments. Celtic’s Post-Rej ection
Claim is entitled to administrative priority under § 503(b) in an amount to be determined
in a future evidentiary heaiing. Likewise, Celtic’s alleged Conversion Claim will require
an evidentiary hearing. The Debtor’s Obj ection to Administrative Expense Proof of
Claim No.'335 will be denied to the extent the Debtor wants all of Celtic’s Claim
disallowed, or classified as an unsecured non-priority claim. By separate order, this
matter will be set for further briefing and hearing with regard to liquidation of Celtic’s

Post-Rej ection Claim and allowance of the Conversion Claim.

DATED: May / 2 ,2006

 

 

W. Richard Lee
United States Bankruptcy Judge

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF CALIFORNIA

CERTIFICATE OF MAILING

The undersigned deputy clerk in the office of the United
States Bankruptcy Court for the Eastern District of California
hereby certifies that a copy of the document to which this
certificate is attached was mailed today to the following
entities listed at the address shown on the attached list or

shown below .

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04-11065-B-11
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Deputy Clerk

EDc 3-070 (New 4/21/00)

 

 

